     Case 2:20-cv-04451-MWF-MRW Document 12 Filed 05/21/20 Page 1 of 1 Page ID #:582




                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

Lance Aaron Wilson et al                                                   CASE NUMBER

                                                         PLAINTIFF(S)                        2:20-cv-04451-DDP-PVC
                                   v.
Felicia L. Ponce et al
                                                                                        NOTICE OF CLERICAL ERROR
                                                        DEFENDANT(S)


You are hereby notified that due to a clerical error           documents associated with the filing of the new action
    the following scanned document              docket entry have/has been corrected as indicated below.
Title of scanned document: Complaint
Filed date:                May 16, 2020                 Document Number(s): 1
    Incorrect case number                                           was assigned to this       action      document
    Case number has been corrected. The correct case number is
    Incorrect judge's initials were indicated on this          action        document . The correct judge's initials are:
    Incorrect magistrate judge's initials were indicated on this               action      document . The correct magistrate judge's
     initials are:                                  .
    Case has been reassigned from              Judge       Magistrate Judge                                                        to
         Judge        Magistrate Judge                                              . The initials of the new judge(s) are:
    Case was assigned to            Western        Southern      Eastern division. Pursuant to General Order 19-03, the case
     has been reassigned to the          Western         Southern         Eastern division. The former case number
                                           has been reassigned to new case number                                             .
    Case title is corrected from                                                        to
    Document has been re-numbered as document number
    Incorrect         Filed Date        Date of Document       Date ENTERED on CM/ECF was stamped on the document.
     The correct date is                                              .
    Document is missing page number(s):
    To ensure proper routing of documents, all documents filed with the court must reflect the following case number
     and judge's initials: 2:20-cv-04451-DDP-PVCx
    Other:     Upon further review, a determination has been made that this case is not appropriate for the issuance of a
               report and recommendation by a magistrate judge pursuant to General Order 05-07. Accordingly, all filings
               should be directed to Judge Dean D. Pregerson. Magistrate Judge Pedro Castillo will remain assigned for
               discovery matters.


                                                                            CLERK, U.S. DISTRICT COURT

Date:                May 21, 2020                                           By: C. Powers
                                                                                Deputy Clerk


G-11 (03/19)                                             NOTICE OF CLERICAL ERROR
